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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
________________________________________________________________________

JOHN DOE,                           )
                                    )
              Petitioner,           )
                                    )     Case No. 1:17-cv-2069 (TSC)
v.                                  )
                                    )
GEN. JAMES MATTIS,                  )
      in his official capacity as   )
      SECRETARY OF DEFENSE          )
                                    )
              Respondent.           )
________________________________________________________________________

                             NOTICE OF APPEARANCE

       Undersigned counsel, Olivia Hussey Scott, hereby enters her appearance as one of

the counsel for Respondent in the above-captioned case.

Date: February 13, 2018                     Respectfully submitted,

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                                            Acting Assistant Attorney General
                                            JESSIE K. LIU
                                            United States Attorney
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